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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                        )
ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of  )
herself and others similarly situated,  )
                                        )
               Plaintiff,               )
                                        )
        v.                              )             Civil Action No. 17-cv-02122 (TSC)
                                        )
ERIC D. HARGAN, et al.,                 )
                                        )
               Defendants.              )
                                        )


                           TEMPORARY RESTRAINING ORDER
       Upon consideration of Plaintiffs’ Application for a Temporary Restraining Order and any

opposition, reply, and the entire record in this case, it is therefore ORDERED that Plaintiffs’

Application for a Temporary Restraining Order is hereby GRANTED.

                                      FINDINGS OF FACT

1. Plaintiff J.R. is a 17-year old unaccompanied minor who entered the United States without

   legal documentation. (Decl. of Jane Roe, ECF No. 63-2).

2. J.R. was detained at the U.S. border, and was remanded to a shelter in an undisclosed

   location under a cooperative agreement with the Office of Refugee Resettlement (ORR).

   (Decl. of Jane Roe, ECF No. 63-2).

3. J.R. learned she was pregnant following a medical examination on November 21, 2017. The

   physician who so informed her described her options to her, and she decided to terminate her

   pregnancy. (Decl. of Jane Roe, ECF No. 63-2).




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4. J.R. has not been permitted to obtain an abortion, and is now approximately 10 weeks

   pregnant. (Decl. of Jane Roe, ECF No. 63-2).

5. Plaintiff J.P. is a 17-year old unaccompanied minor who entered the United States without

   legal documentation. (Decl. of Jane Poe, ECF No. 64-1).

6. J.P. was detained at the U.S. border, and was remanded to a shelter in an undisclosed location

   under a cooperative agreement with ORR. (Decl. of Jane Poe, ECF No. 64-1).

7. J.P.’s physician informed her in or around the week of December 11, 2017 that her

   pregnancy had entered the second trimester. Her physician described her options to her, and

   she decided to terminate her pregnancy. (Decl. of Jane Poe, ECF No. 64-1).

8. J.P. has not been permitted to obtain an abortion, and is now approximately 22 weeks

   pregnant. (Decl. of Jane Poe, ECF No. 64-1); (Decl. of Jonathan White, ECF No. 66-1).

9. In March 2017, ORR announced that all federally funded shelters are prohibited from taking

   “any action that facilitates” abortion access for unaccompanied minors absent “direction and

   approval from the Director of the ORR.” (ECF No. 3–5 at 2). This policy remains in effect at

   this time with respect to J.R. and J.P.

10. Defendants maintain that J.R. and J.P. may obtain an abortion only if: (1) an individual

   indicates his or her willingness to serve as a sponsor for J.R. or J.P., qualifies for that position

   under applicable legal requirements, completes the administrative review process, and is

   approved by ORR; or (2) J.R. and J.P. voluntarily return to their respective home countries.

11. The process of identifying, vetting, and approving sponsors is lengthy and complex,

   involving multiple steps that can take weeks or months to complete. The process typically

   involves completion and submission of an application, requirements for extensive

   documentation of prior relationship to the minor and/or the minor’s family, background



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   checks, home visits, and multiple stages of administrative review. The minor has no control

   over the sponsorship process, and ultimately the decision whether to approve a particular

   sponsor rests with ORR. (Decl. of Robert Carey, ECF No. 23-1 at 2, 4, 5–7).

12. With respect to J.R., a family member who is a U.S. citizen has submitted an application.

   That individual has yet to provide the necessary documentation or fingerprint results, has not

   undergone the necessary background checks, and the required home visits have not taken

   place. Although the Government estimates that sponsor reunification could be completed

   within two weeks, (Decl. of Jonathan White, ECF No. 66-1), Government’s counsel

   conceded at the December 18, 2017 hearing on Plaintiffs’ Application for a Temporary

   Restraining Order that: (1) the potential sponsor is in control of the timing, as it is the

   potential sponsor who must provide fingerprint information and other necessary

   documentation; and (2) even if the sponsor were to provide all outstanding materials

   expeditiously, the Government’s estimate depends on the absence of any items of concern

   that could be uncovered by either or both of: (a) the background check or (b) the home study.

13. With respect to J.P., Government counsel informed the court at the December 18, 2017

   hearing on Plaintiffs’ Application for a Temporary Restraining Order that ORR has decided

   and declared that it will not permit her to effectuate her choice to have an abortion, and to

   date no potential sponsors for J.P. have been identified.

14. Private funds will be used to pay for J.R. and J.P.’s abortion procedures, and shelter staff will

   transport J.R. and J.P. to their respective providers. Federal funds will not be used to pay for

   any abortion procedure that J.R. or J.P may choose to undergo. (Plaintiffs Jane Roe’s and

   Jane Poe’s Memorandum in Support of Their Application for a Temporary Restraining Order

   at 7, ECF No. 63-1).



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                                   CONCLUSIONS OF LAW

1. The situation with respect to the application of ORR’s policy to unaccompanied pregnant

   minors in its care has not materially changed between October 2017 and December 2017.

   ORR continues to claim—and in the case of J.P., has actually exercised—ultimate authority

   to unilaterally veto the reproductive choices of the unaccompanied minors in its custody.

   With regard to the undue burden that veto represents, ORR maintains substantially the same

   positions that were considered in October by this court and by the D.C. Circuit sitting en

   banc.

2. Thus, in view of the need to preserve J.R. and J.P.’s constitutional right to decide whether to

   carry their pregnancies to term—including their right to change their minds regarding the

   same—and for substantially the same reasons given in Judge Millett’s dissenting statement

   issued on October 20, 2017, and substantially adopted by the Court of Appeals sitting en

   banc in its Order of October 24, the court finds: (1) Plaintiffs are likely to succeed on the

   merits of their action; (2) if Defendants are not immediately restrained from prohibiting

   shelter staff from transporting J.R. and J.P. to abortion facilities or otherwise interfering with

   or obstructing their access to an abortion, J.R. and J.P. will both suffer irreparable injury in

   the form of, at a minimum, increased risk to their health, and perhaps the permanent inability

   to obtain a desired abortion to which they are legally entitled; (3) the Defendants will not be

   harmed if such an order is issued; and (4) the public interest favors the entry of such an order.

Based on the foregoing findings of fact and conclusions of law, it is hereby ORDERED that

Defendants Eric Hargan, Steven Wagner, and Scott Lloyd (along with their respective

successors in office, officers, agents, servants, employees, attorneys, and anyone acting in

concert with them) are, for fourteen days from the date shown below:



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   1. Required to transport J.R. and J.P.—or allow J.R. and J.P. to be transported—promptly

      and without delay, on such dates, to an abortion provider, in order to obtain any

      pregnancy or abortion-related medical care and to obtain the abortion procedure itself, in

      accordance with the abortion providers’ availability and any medical requirements.

   2. Temporarily restrained from interfering with or obstructing J.R.’s and J.P.’s access to

      abortion counseling or an abortion;

   3. Temporarily restrained from forcing J.R. and J.P. to reveal the fact of their pregnancies

      and their abortion decisions to anyone, and from revealing those decisions to anyone

      themselves;

   4. Temporarily restrained from retaliating against J.R. and J.P. based on their decisions to

      have an abortion;

   5. Temporarily restrained from retaliating or threatening to retaliate against the contractors

      that operate the shelters where J.R. and J.P. currently reside for any actions that those

      contractors or shelters have taken or may take in facilitating J.R. and J.P’s ability to

      access pregnancy and abortion-related medical care and/or an abortion.

It is further ORDERED that Plaintiffs shall not be required to furnish security for costs. The

execution of the foregoing Order shall be stayed for 24 hours from the date and time of

entry to preserve the opportunity to seek emergency relief from the D.C. Circuit. Failure

to comply with the terms of this Order may result in a finding of contempt.


Date: December 18, 2017

                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge



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